             Case 8:17-cr-00472-PX Document 499 Filed 08/16/19 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,                   )
                                            )
Plaintiff,                                  )
                                            )
        v.                                  )       CASE NO. 8:17-cr-00472-PX
                                            )
DAWN J. BENNETT,                            )
                                            )
Defendant.                                  )
                                            )
                                            )

                                    NOTICE OF APPEAL

        Notice is hereby given that Defendant Dawn J. Bennett in the above-captioned case

appeals to the United States Court of Appeals for the Fourth Circuit from the final judgment and

sentence entered in this action on August 9, 2019 (ECF No. 493), and all orders and judgments

merged or subsumed therein, including without limitation the Court’s order denying Defendant’s

Motion to Continue Trial (ECF No. 324) and the Court’s order denying Ms. Bennett’s Motion

for Judgment of Acquittal or a New Trial (ECF No. 408).

                                                    Respectfully submitted,


DATED: August 16, 2019                               /s/ William E. Zapf
                                                    Jonathan Jeffress
                                                    William E. Zapf
                                                    KaiserDillon PLLC
                                                    1099 14th Street, NW
                                                    8th Floor West
                                                    Washington, DC 20005
                                                    T: (202) 640-2850
                                                    F: (202) 280-1034
                                                    wzapf@kaiserdillon.com
                                                    jjeffress@kaiserdillon.com

                                                    Counsel for Dawn J. Bennett
         Case 8:17-cr-00472-PX Document 499 Filed 08/16/19 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on the date listed below I electronically filed the foregoing with the

Court using the CM/ECF system, which sent notification of such filing to counsel of record.



Dated: August 16, 2019                                /s/ William E. Zapf
                                                      William E. Zapf




                                                 2
